UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 ROHAN RAMCHANDANI,                                                                                          8/24/22

                            Plaintiff,
                                                                                            lJSnC SONY

      - against -                                                                      Civ. 9124 (VM)
                                                                                   19 DOCUMENT
                                                                                      ELECTRONICALLY FILED !


 CITIGROUP INC., et al.,
                                   UN ITE D STATES DISTR I CT COURT
                                   SOUTHERN DI STRICT OF NEW YORK
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                                   GUILLAME JACQUETY ,
                                                                                   ORDER
                            Defendants.                      Petitioner ,              19 Civ . 9642 (VM)

                                           - against -                                 ORDER

                                   GERALDINE HELENA TENA

VICTOR MARRERO, United States District Judge.
                                   BAPTISTA, et al. ,

                                                             Respondents .
                                   ------------------------- - --- ------x
       Defendants Citigroup Inc., Citicorp LLC, and Citibank N.A.,
                                   VICTOR MARRERO, United States District Judge.

                                           As more than six weeks have passed since the filing of


are directed to file, by the
                          September          14, 2022, a pre-motion letter
                             petition in this matter , the United States Department of

                                   State     has    requested a   status    update.    As    reflected     in the

setting forth the grounds parties
                           for ' their
                                  February 27anticipated          motion
                                             , 2020 joint letter to Magistrate for
                                                                               Judge summary

                                   Lehrburger (see Dkt . No . 25), counsel for both the petitioner

judgment. Plaintiff RohanandRamchandani          shallpersonal
                             respondent have encountered  file     his response
                                                               difficulties that by
                                   prevented the parties from taking depositions and completing

October 5, 2022.                   discovery       as   originally   scheduled .      Judge    Lehrburger     has

                                   ordered the parties to submit a proposed revised discovery
SO ORDERED.                        schedule , or a status report stating why the parties cannot

                                   do so , by March 10, 2020.
Dated: August 24, 2022
       New York, New York SO          ORDERED.

                                   Dated :         New York , New York
                                                   3 March 2020


                                                                         ______________________
                                                                             VICTOR
                                                                                U.S . D. J . MARRERO
                                                                              Victor Marrero


                                                                                  U.S.D.J.
